

Max v ALP, Inc. (2021 NY Slip Op 03413)





Max v ALP, Inc.


2021 NY Slip Op 03413


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kapnick, J.P., Mazzarelli, Moulton, Mendez, JJ. 


Index No. 650618/19 Appeal No. 13930 Case No. 2020-03459 

[*1]Adam Max, on behalf of himself and derivatively on behalf of ALP, Inc., A New York Corporation, Plaintiff-Appellant,
vALP, Inc., et al., Defendants-Respondents, Michael Anderson, Defendant. _Lawrence L. Flynn, Nonparty Respondent.


Capetola &amp; Divins, P.C., Williston Park (Robert P. Johnson of counsel), for appellant.
Schlam Stone &amp; Dolan LLP, New York (Jeffrey M. Eilender of counsel), for respondents.



Appeal from order, Supreme Court, New York County (Nancy M. Bannon, J.), entered on or about May 28, 2020, which, to the extent appealed from as limited by the briefs, granted respondents-defendants ALP, Inc. and Libra Max's request for a temporary restraining order preventing an ALP shareholder's meeting from occurring, unanimously dismissed, without costs.
By order entered November 24, 2020 (2020 NY Slip Op 75224[U] [1st Dept 2020]), this Court granted the branch of petitioner-plaintiff's motion seeking review of the TRO pursuant to CPLR 5704 and held "upon such review, the request to vacate, limit or modify said orders is denied." The Court otherwise denied petitioner-plaintiff's motion, including his request for leave to appeal, to which we adhere. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








